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1
                               UNITED STATES DISTRICT COURT
2
3                         CENTRAL DISTRICT OF CALIFORNIA
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5
      THE UNITED STATES OF AMERICA                Case No: CR 18-759-CJC-3
6
                  Plaintiff,                      [PROPOSED]
7           vs.                                   ORDER WITHDRAWING GUILTY
                                                  PLEA AND DISMISSING
8                                                 INDICTMENT REGARDING
      TYLER LAUBE                                 DEFENDANT TYLER LAUBE
9
                  Defendant
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      GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED:
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      1.    Defendant Tyler Laube’s guilty plea to Count 1 of the Indictment is
14
            withdrawn, pursuant to Federal Rule of Criminal Procedure 11(d)(2)(B).
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      2.    The Indictment is dismissed consistent with the Order Granting Defendants
16
            Robert Rundo, Robert Boman, and Aaron Eason’s Joint Motion to Dismiss
17
            the Indictment (Doc. 145), which is incorporated herein by reference.
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            DATED:
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                                      _____________________________________
22                                    CORMAC J. CARNEY
23
                                      UNITED STATES DISTRICT JUDGE

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